Case 5:24-cv-00072-DCB-ASH   Document 42-1      Filed 05/15/25   Page 1 of 13




           Carolyn Smith, et al. v. Jefferson
              County, Mississippi, et al.

                              Sandra Sanders

                               April 18, 2025




             All depositions & exhibits are available for downloading at
                          <<www.brookscourtreporting.com>>
         Please call or e-mail depo@brookscourtreporting.com if you need a
                               Username and Password.




              Mississippi - Louisiana - Tennessee - New York
                              1-800-245-3376



                                    EXHIBIT 1
Case 5:24-cv-00072-DCB-ASH    Document 42-1   Filed 05/15/25   Page 2 of 13

                         Sandra Sanders 4/18/2025

                                                                         Page 1
                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                             WESTERN DIVISION

            CAROLYN SMITH, ET AL
                                                                 PLAINTIFFS

            V.               CIVIL ACTION NO. 5:24-CV-0072-DCB-ASH

            JEFFERSON COUNTY,
            MISSISSIPPI, ET AL
                                                                 DEFENDANTS


                        DEPOSITION OF SANDRA SANDERS


           Taken at the instance of the Defendants at the Law
             Offices of Carroll Rhodes, 119 Downing Street,
                Hazlehurst, Mississippi 39083, on Friday,
                             April 18, 2025,
                          beginning at 1:11 p.m.




                                    REPORTED BY:
                         ROBIN G. BURWELL, CCR #1651



                             Brooks Court Reporting
                                 1-800-245-3376
Case 5:24-cv-00072-DCB-ASH                  Document 42-1        Filed 05/15/25        Page 3 of 13

                                      Sandra Sanders 4/18/2025

                                                Page 2                                                  Page 4
      1   APPEARANCES:                                       1                 SANDRA SANDERS,
      2                                                      2     having been first duly sworn, was examined and
      3     CARROLL RHODES, ESQ.
            Law Offices of Carroll Rhodes                    3     testified as follows:
      4     Post Office Box 588                              4     EXAMINATION BY MR. CARPENTER:
            Hazlehurst, Mississippi 39083                    5         Q. Ms. Sanders, I'm Tom Carpenter. Of
      5     crhode@bellsouth.net
      6
                                                             6     course, by now you know me.
               COUNSEL FOR PLAINTIFF                         7         A. Yeah.
      7                                                      8             MR. CARPENTER: And we can do the usual
      8                                                      9     stipulations?
            THOMAS L. CARPENTER, ESQ.
      9     Wise, Carter, Child & Caraway                   10             MR. RHODES: Yeah.
            2510 14th Street, Suite 1125                    11             MR. CARPENTER: And read and sign?
     10     Gulfport, Mississippi 39501                     12             MR. RHODES: Yeah.
            tlc@wisecarter.com                              13         Q. (By Mr. Carpenter) What's your first
     11
     12        COUNSEL FOR DEFENDANT                        14     name? We can already get started.
     13                                                     15         A. Sandra Sanders.
     14   ALSO PRESENT:                                     16         Q. Yes, ma'am.
     15     Carolyn Smith
            Shaquita McComb                                 17             And what is your address?
     16     James Ellis, Jr.                                18         A. PO Box -- you want the mailing or the
     17                                                     19     physical?
     18                                                     20         Q. Physical address.
     19
     20                                                     21         A. 18030 Highway 61.
     21                                                     22         Q. That's in?
     22                                                     23         A. Fayette 39069.
     23
     24                                                     24         Q. Okay. And where are you currently
     25                                                     25     employed today?


                                                Page 3                                                  Page 5
      1                        INDEX                         1         A. Jefferson County School District.
      2     Style.......................................1    2         Q. And what do you do there?
      3     Appearances.................................2    3         A. It's like a facilitator. It's dual
      4     Index ....................................3      4      enrollment.
      5     Certificate of Deponent ..................44     5         Q. Got it.
      6     Certificate of Court Reporter .............45    6             And how much does that earn per hour?
      7                     EXAMINATIONS                     7         A. I don't know because we get paid a
      8     Examination By Mr. Carpenter ...............4    8      month.
      9     Examination By Mr. Rhodes .................33    9         Q. That will work.
     10     Examination By Mr. Carpenter ..............40   10         A. 1591, that's before taxes.
     11                                                     11         Q. And when you left as a correctional
     12                                                     12      officer at The Facility, what were you making
     13                                                     13      December of '23?
     14                                                     14         A. $10.
     15                                                     15         Q. And when did you start with the
     16                                                     16      Jackson -- I keep saying that -- the Jefferson
     17                                                     17      School District?
     18                                                     18         A. I always kept two jobs because that
     19                                                     19      didn't pay enough to cover my bills.
     20                                                     20         Q. So while you were working in Jefferson
     21                                                     21      School District, you were also working at The
     22                                                     22      Facility?
     23                                                     23         A. Uh-huh. (Affirmative response.)
     24                                                     24         Q. Did you find another job since then or
     25                                                     25      you just working the one?


                                                                                   2 (Pages 2 to 5)
                                        Brooks Court Reporting
                                            1-800-245-3376
Case 5:24-cv-00072-DCB-ASH                Document 42-1            Filed 05/15/25          Page 4 of 13

                                     Sandra Sanders 4/18/2025

                                                 Page 6                                                      Page 8
      1       A. Just was working that one.                    1      that too. It is not science fiction anymore that
      2       Q. Okay. And I've got your educational           2      I might get Social Security.
      3   background. You have a master's degree?              3         A. That's right.
      4       A. Uh-huh. (Affirmative response.)               4         Q. All righty. And then we'll talk about
      5       Q. What is your --                               5      medicals. And so as far as the results of what
      6          MR. RHODES: You have to yes.                  6      happened at The Facility, you're able to do the
      7          THE WITNESS: Yes, sir. I'm sorry.             7      work that you're doing in the School District,
      8       Q. (By Mr. Carpenter) That's okay.               8      though, without any difficulty?
      9       A. You know, we're full now.                     9         A. I can do it. It's not stressful. I
     10       Q. That's right. So your bachelor's degree      10      mean, it can be, but...
     11   is Alcorn?                                          11         Q. Going to the complaint. What we have is
     12       A. Uh-huh. (Affirmative response.)              12      that you started work with The Facility in 2016?
     13       Q. And what is that?                            13         A. Yes, sir.
     14       A. My bachelor's -- yes, sir. My                14         Q. And were there until the end of '23?
     15   bachelor's degree is in criminal justice.           15         A. Yes, sir.
     16       Q. And what is your master's in?                16         Q. Okay. And you mention in paragraph 78
     17       A. Workforce leadership.                        17      that you support Shawn Jones, and you allowed him
     18       Q. And there was something about a MAT?         18      to place a campaign sign for sheriff in your yard?
     19       A. MAT, that's for teachers license. I got      19         A. Well, I put the sign -- allowed him to
     20   that at Belhaven.                                   20      put the sign in the yard. It didn't state whether
     21       Q. That's what I was thinking.                  21      or not -- who I voted for.
     22          And is that -- is your licensure for         22         Q. Exactly.
     23   secondary education, like high school or is it --   23         A. It's just that I gave him permission to
     24       A. It was from 7 to 12th.                       24      put his sign in my yard. I mean, even though I
     25       Q. And when -- of course, you were working.     25      voted for him, but that not...


                                                 Page 7                                                      Page 9
      1   And I know you had two jobs. Did you just decide     1         Q. Now, because one of the things is the
      2   not to keep doing two jobs because it was            2     support you gave for Shawn. And of course, you
      3   stressful or --                                      3     allowed him to have a sign. But the sheriff
      4       A. Well, I was depressed behind, you know,       4     didn't know who you were voting for?
      5   losing the job there, and then -- so, you know --    5         A. Right.
      6   because that was after Christmas and this and        6         Q. And so other than just having the sign
      7   that. And then so as I was getting to the age of     7     in the yard, did you do anything else?
      8   retiring, I looked into that. So I said that if I    8         A. No.
      9   do that, then that probably will make up for what    9         Q. Fair enough. And so then in paragraph
     10   I lost at the prison.                               10     79 it says Sheriff Bailey sent Major Felton to you
     11       Q. I understand. Absolutely.                    11     to complain about Shawn James{sic}?
     12       A. So I talked to them, and sure enough         12         A. I don't know if he sent. He just made
     13   that could balance out from what I lost at the      13     the statement at the job. We was on the outside
     14   prison.                                             14     in front of the prison. He stated that the
     15       Q. Okay. All righty.                            15     Sheriff wasn't pleased with me because I had Shawn
     16       A. I mean, it wasn't as much but it still       16     Jones' sign in my yard. And I told the Major, I
     17   balanced out where it wouldn't be -- you know, I    17     say he could put his sign in my yard because a
     18   still needed two incomes.                           18     sign don't vote.
     19       Q. Right. Exactly.                              19         Q. Right. I've heard so many campaign
     20           And as I was saying to everybody else,      20     managers say that in the last four months, signs
     21   since this isn't going out on public perspective,   21     don't vote. So I do see what you mean.
     22   how old are you now?                                22         A. And he could have.
     23       A. 63.                                          23         Q. Right.
     24       Q. Well, I'm 60, so I'm getting there. And      24            Did Sheriff Bailey say anything directly
     25   so when you said income replacement, I'm thinking   25     about the sign?


                                                                                       3 (Pages 6 to 9)
                                       Brooks Court Reporting
                                           1-800-245-3376
Case 5:24-cv-00072-DCB-ASH                Document 42-1             Filed 05/15/25          Page 5 of 13

                                     Sandra Sanders 4/18/2025

                                                Page 10                                                      Page 12
      1      A. No, but I approached him.                       1      envelope, they can probably say that person. But
      2      Q. That's where we're going. Because it            2      others that's going to that machine, they cannot
      3   says in paragraph 81, "Sheriff Bailey subsequently    3      determine or say. You don't have no proof who I
      4   told Sandra Sanders that he needed her vote but       4      voted for.
      5   she let him know he supported Shawn for sheriff."     5         Q. So essentially when you went back and
      6          Is that what you were referring to?            6      you talked to -- you say you talked to the Sheriff
      7      A. Well, pretty much. When I -- when Major         7      or you talked to Major Felton?
      8   told me about the sign, when I saw him again we       8         A. I talked to the -- I went to him and
      9   was, again, outside. And I stated to him, I said      9      told him that he could have put a sign in my yard.
     10   that you said that you had a problem with me, you    10         Q. And that "him" is the Sheriff?
     11   know, having Shawn's sign. I said you could have     11         A. The Sheriff. I told Sheriff Bailey that
     12   put a sign in my yard. And then he was like -- I     12      he could put a sign in my yard because -- and he
     13   said because a sign don't vote. And he is my         13      was like -- all he said was you right, classmate.
     14   classmate. And he said, classmates, you are          14         Q. And was there anything else said by the
     15   right. So I left it at that.                         15      Sheriff about the election, other than your
     16          But, you know, after that he stopped          16      recollection of that?
     17   speaking and stuff like that. Now, I heard rumors    17         A. No more than when they had the mandatory
     18   of other things but I never knowed that, you know,   18      meeting.
     19   I was involved in it. Because the rumors was --      19         Q. And do you know when the mandatory
     20   and most of the time, as they call it, the street    20      meeting was?
     21   committee, know more about what's going on than      21         A. Huh-huh. (Negative response.)
     22   the peoples that's actually working in The           22         Q. Sometime in '23?
     23   Facility.                                            23             MR. RHODES: No.
     24      Q. That's right.                                  24             THE WITNESS: No -- I mean, yes, no.
     25      A. And normally you can -- you know, they         25      No.


                                                Page 11                                                      Page 13
      1   say don't listen to hearsay, but sometime it          1          Q. (By Mr. Carpenter) And of course
      2   basically be true. So on this hand it was.            2      Ms. McComb stated who was in that particular
      3       Q. And what were you hearing from                 3      meeting, the mandatory meeting.
      4   background from folks?                                4          A. It's the same.
      5       A. It was just among the ones that was            5          Q. Was that the list --
      6   working in The Facility and that he wasn't going      6          A. Uh-huh. (Affirmative response.) The
      7   to rehire certain people. You know, whether it        7      same peoples, and more.
      8   was because their family was running for something    8          Q. And what do you recall about what was
      9   or whatever and they was saying that he said that     9      said?
     10   he know who voted for him and who didn't. So by      10          A. Oh, I could remember it pretty -- he was
     11   me working on the election poll for election, I'm    11      saying that we needed to have his back and that --
     12   like how is it possible that he know what each       12      he said that we needed to support him in his
     13   individual and who voted for who. I can't see --     13      election coming up. We needed to have his back.
     14   I've never knowed that, and I've worked on the       14      He told us that he was trying to get a certain
     15   election poll for years and I never knowed that      15      amount of money for each individual inmate. And
     16   you'll be able to tell me oh, Sandra you didn't      16      he just went on and on.
     17   vote for me because I see it on this doc -- you      17             But I know because I responded to his
     18   see what I'm saying?                                 18      remarks because I told him, "You want us to
     19       Q. Yeah, and you can't. You're absolutely        19      support you now and the last four years you
     20   right.                                               20      haven't supported us or had our back. So why
     21       A. So you can't. So I said if he told you        21      should we have your back?" I said, "You told us
     22   that, then he's lying. He do not know each           22      that you was going to give us a raise." I said,
     23   individual, unless they take those, what it is,      23      "In these last fours you haven't gave us a raise."
     24   the ones -- the absentee votes. Now, if they look    24      I said, "Not a nickel, a penny, a quarter,
     25   at those peoples and then they look at who on that   25      nothing." I said, "You haven't gave us anything.


                                                                                    4 (Pages 10 to 13)
                                        Brooks Court Reporting
                                            1-800-245-3376
Case 5:24-cv-00072-DCB-ASH                Document 42-1             Filed 05/15/25          Page 6 of 13

                                     Sandra Sanders 4/18/2025

                                                Page 14                                                      Page 16
      1   But here you're saying now."                          1     where you see yourself in five years, what is your
      2          So he kind of got, like, mad at me             2     weakness, what is your strength. You know what
      3   because I was telling him that. Like I told him,      3     I'm saying? I done did interviews enough to know
      4   you said, "You was going to give us a raise. You      4     none of those questions was asked in this
      5   didn't say how you was going to give us a raise,      5     so-called interview.
      6   what was it going to take to get the raise. I'm       6         Q. So it was essentially him telling you
      7   going by what you're saying. Now you're standing      7     everything and not asking anything from you?
      8   here again, another four years, wanting us to vote    8         A. Not asking anything.
      9   for you when you haven't did nothing for us in the    9         Q. All right. In that discussion coming to
     10   last four years." That's what I told him.            10     you, did he mention -- you had mentioned something
     11       Q. And what was his response?                    11     about he had gotten rid of some. Did he say why
     12       A. Got red. And A lot of peoples after the       12     he got rid of them?
     13   meeting say, "You know you made him mad." I mean,    13         A. No. They had resigned. I think it was
     14   closed mouths don't get fed.                         14     like the Major -- not the Major. The Warden had
     15       Q. Right.                                        15     left, Nurse Lee, Deputy Warden and the Captain.
     16       A. I just was going by what he told us.          16         Q. Gotcha.
     17   But here you coming again wanting us to support      17         A. And it's somebody else I can't think of.
     18   you, but you haven't did anything for the -- you     18     But the ones that had already resigned, they name
     19   know, the prison. You talked about -- he also        19     was -- the street committee had they names, that
     20   talked about -- well, that's another story.          20     they would be with us, terminated. But by them
     21   That's with the interview.                           21     having years already in, they didn't, you know --
     22       Q. Okay. And we're going to probably get         22     they went on and resigned.
     23   to that next. But between that discussion at the     23         Q. Okay.
     24   mandatory meeting, was the next time he talked to    24         A. I guess you would call it resigned, or
     25   you about -- at the pre-interview or did he say      25     retired or something. But they had heard that


                                                Page 15                                                      Page 17
      1   anything about the election between those two         1      they name was in there as well. But they had the
      2   times?                                                2      years and the -- some of them had the years and
      3       A. Not until the interview, which wasn't no       3      the age and some of them just had the years for --
      4   interview.                                            4      as retirement or whatever.
      5       Q. Tell me about that. Who was there?             5          Q. I follow you. Absolutely.
      6       A. Nobody but him, which I had never seen         6             And so after the interview, did you ever
      7   before.                                               7      talk with the Sheriff again?
      8       Q. Okay. And what happened?                       8          A. No more than -- no, I didn't even talk
      9       A. He told me to come in, sit down, this          9      to him after I got my papers. Because they let me
     10   was a mandatory meeting. And then he started         10      come to work that night.
     11   talking about he had already rid of some peoples     11          Q. Right. And what happened in terms of --
     12   and the people that had resigned or quit, they was   12      did you file a grievance?
     13   for Sheriff Walker. He stated that -- he talked      13          A. Yeah, but we caught the devil.
     14   about some guy I didn't even know who he was. He     14          Q. You said you copied?
     15   was on the police department, I want to say. I       15          A. Caught the devil.
     16   can't remember. Because the police and the           16          Q. Okay. What happened?
     17   Sheriff departments, they worked together. So I      17          A. Well, when we got the paper -- he gave
     18   don't know who the guy was. He was talking about     18      us the paperwork. So when I got fired -- like I'm
     19   he was stealing time. He found out that he           19      saying, it's after the holidays.
     20   wasn't -- he was supposed to be at work and he was   20          Q. Right.
     21   at home but he wants peoples that's going to         21          A. Everybody broke and, you know -- what
     22   support him in his election. And he just went on     22      they say; it takes six months to pay the bills
     23   and on and on. It was at a point that I pretty       23      after Christmas, or whatever the saying go.
     24   much, to be honest, I blocked him out. Because       24          Q. That's right.
     25   the interviewer going to ask you what's your name,   25          A. So when they gave me the papers I was at


                                                                                    5 (Pages 14 to 17)
                                        Brooks Court Reporting
                                            1-800-245-3376
Case 5:24-cv-00072-DCB-ASH                 Document 42-1            Filed 05/15/25          Page 7 of 13

                                     Sandra Sanders 4/18/2025

                                                Page 18                                                      Page 20
      1   home. By right, like I say, they do what they         1      following it. And now I'm just going through some
      2   want to do. I wasn't even really supposed to --       2      interrogatories to make sure that I've got
      3   they wasn't even supposed to allow me on the          3      everything.
      4   premises at the prison. But they allowed me to        4              During the -- in medicals, because I
      5   work but I only came there because in my mind I'm     5      know I asked this of Ms. Blake, and that's where I
      6   already, you know, thinking about, okay, I've got     6      was -- but I was focusing more, I guess -- do you
      7   to see if all of this is right; is what they doing    7      recall any instances where you were having any
      8   to us right. In my mind I was looking. I went         8      medical problems?
      9   there to look for the handbook. That's my whole       9          A. When they did some tear gas and I had
     10   12 hours. I was looking for the handbook to make     10      to --
     11   sure that what they was doing was legal.             11          Q. Sure.
     12          But then after that they was like, "If        12          A. And they didn't know what was going on.
     13   he fired you, why did you go to work?" I said, "I    13          Q. What happened?
     14   had a purpose." So after that, some kept on          14          A. I didn't know they had did no mace, or
     15   telling me, "You got a handbook; you have a          15      whatever they did. And they had put it in there.
     16   handbook."                                           16      And by me being in a confined room, I didn't think
     17          But anyway, far as the grievance go,          17      that it would have came up in there where I was.
     18   they was telling us you got to go this place.        18      And I just started gasping and coughing and
     19   They was having us running this place, running       19      whatever, whatever. And I think I -- I want to
     20   that place. So somebody told us to go with           20      say I passed out.
     21   Lieutenant, which is Carolyn. She had somebody       21          Q. Gotcha. When was this, if you recall?
     22   telling her what to do. So she was helping the       22          A. I can't tell you no dates.
     23   rest of us. So we made up our own grievance. And     23          Q. Was it -- and I know not particular.
     24   by the time -- time was running down with the        24      But was it in '22, '23 maybe, if you know?
     25   grievance because we had a certain amount of time    25          A. I can't say.


                                                Page 19                                                      Page 21
      1   to give it in. I mean to, you know, pursue it.        1         Q. Did the ambulance come out?
      2          So by that time, when we got all our           2         A. They did.
      3   grievance did, we did it on paper. Here you come      3         Q. And what did they do?
      4   maybe some months later, which it wouldn't have       4         A. They just wanted to check me to make
      5   been no good, you sending us a certified grievance    5      sure that I was okay and they told me that I could
      6   letter. When I found the handbook, the handbook       6      refuse to not go with them, which I did because
      7   fully states right there in the handbook there go     7      that would have just been an extra bill. You
      8   a grievance and who you're supposed to contact in     8      know, once they was saying that I was okay or
      9   the handbook.                                         9      whatever, nothing major that I had to go to the
     10       Q. Right.                                        10      emergency room for. And then it was just -- I
     11       A. But why would you give us the run-around      11      found out that it was in the tear gas.
     12   when it's in the handbook what we're supposed to     12         Q. Got it. Okay.
     13   do. But nobody could tell us nothing. Everybody      13             Other than that one instant with tear
     14   we went to -- we went to the Sheriff; we went to     14      gas, has there been any other incidence when you
     15   Major Felton, because he was the one acting as       15      had a medical emergency with work?
     16   warden then.                                         16         A. Been so long ago. I mean, I've been off
     17          Nobody told us what to do, so that's why      17      with an inmate and something happened to me.
     18   we had to do a handwritten grievance. We even        18         Q. Okay. What was that?
     19   went to the, what, board of supervisors.             19         A. We was at the emergency room with an
     20       Q. What happened with that?                      20      inmate and I wind up in ICU.
     21       A. Nothing. They was like sorry that that        21         Q. And what happened?
     22   happened to us. But your name on our checks.         22         A. I coded twice and they said I had had a
     23   Board of supervisors is on our checks but they       23      heart attack.
     24   couldn't help us.                                    24         Q. Okay. Do you know about how many years
     25       Q. And from that period -- okay. I'm             25      ago that was?


                                                                                    6 (Pages 18 to 21)
                                        Brooks Court Reporting
                                            1-800-245-3376
Case 5:24-cv-00072-DCB-ASH                Document 42-1             Filed 05/15/25          Page 8 of 13

                                     Sandra Sanders 4/18/2025

                                                Page 22                                                      Page 24
      1       A. It should have been like -- like '18 or        1             Now, this one was from August 29th of
      2   '19. 2018, 2019.                                      2      2022, and it indicates that, according to Nurse
      3       Q. Okay. Other than -- and of course, this        3      Bounds, you had anxiety and depression in past
      4   is what we call a grab bag question so we make        4      medical history; is that correct?
      5   sure we got the question asked. Other than what       5          A. Yes, sir.
      6   we've discussed, were there other conversations       6          Q. And that you had had -- you'd had -- I
      7   you had with Sheriff Bailey? Have we missed any       7      know I'm going to get it out right. This would
      8   conversations?                                        8      have been in '22, so you would have had your heart
      9       A. Huh-huh. (Negative response.) No,              9      attack in 2018 or '19?
     10   because he try to stay out your way.                 10          A. Yes, sir.
     11       Q. All right. Do you know how many times         11          Q. And who was -- how were you being
     12   you visited a doctor because of anxiety and          12      treated for that in terms of preventing another
     13   depression from this particular incident with The    13      one?
     14   Facility?                                            14          A. Talking about now or whatever? I have
     15       A. Maybe twice, because I seen Dr. Omolara.      15      the pacemaker defibrillator. Which I've had some
     16   I told him about it, which I see him anyway. But     16      episodes, but I have a ICD.
     17   it was just to the point that before I got my        17          Q. And when did you have that installed or
     18   second -- before I started getting my money from     18      implanted?
     19   my Social Security, it was only one income and       19          A. During that time. Along the time
     20   that was kind of like stressing you out, because     20      that -- before I left the hospital.
     21   all of a sudden you only have one income and you     21          Q. So by August '22 you had it in planted?
     22   got the stress, paying all of your bills and         22          A. Yes, sir.
     23   household goods and stuff like that. So that was     23          Q. They indicate -- this is Nurse Bounds
     24   kind of stressful. But at the same time, I still     24      saying, "Complex Regional Pain Syndrome." And
     25   had family members helping me to, you know, pay      25      that's a medical term that we would know for


                                                Page 23                                                      Page 25
      1   certain stuff.                                        1      personal injury. It's pain in the left upper
      2      Q. Exactly. Okay.                                  2      extremity, so that would be up in this area?
      3          Had you ever been -- I mean, other             3          A. Right here (indicating)?
      4   than -- with the heart attack, you were on the        4          Q. Yes, ma'am. Without them saying what
      5   job. I mean, you were at the hospital escorting a     5      exactly it is.
      6   patient?                                              6          A. Yes, sir.
      7      A. Uh-huh. (Affirmative response.) But             7          Q. Do you recall having issues with that?
      8   that was just -- uh-huh. (Affirmative response.)      8          A. Yes, sir.
      9      Q. Absolutely. Have you ever been                  9          Q. And it looks like they were giving you
     10   physically injured in the last five years, like      10      Naproxen for that?
     11   truck accidents or -- like Ms. McComb with her       11          A. Yes, sir.
     12   logging accident?                                    12          Q. And I note with the anxiety and
     13      A. No, sir.                                       13      depression and insomnia -- how long ago did that
     14      Q. Okay. I've got some medical records.           14      start from 2022? Because I'll show you what we're
     15   As you can tell, there ain't a lot of them so this   15      looking at. And I guess my question would be:
     16   won't take long. But I wanted to -- there's one,     16      Can you say when these conditions started, that
     17   and these are documented. This is from Bounds        17      you started experiencing issues with them?
     18   Family Medicine. You recall seeing Nurse Bounds      18          A. After I had my episode with the --
     19   there?                                               19      getting used to the device being in me. That was
     20      A. Uh-huh. (Affirmative response.)                20      life changing.
     21      Q. Okay. And we'll take that for a yes.           21          Q. Sure.
     22      A. Yes. I'm sorry. I'm so sorry, yes.             22          A. Yeah, during that time.
     23   Yes.                                                 23          Q. And then skipping ahead to October of
     24      Q. That's all right. You're doing just            24      '23. So we're still before -- you're still
     25   fine.                                                25      working at The Facility. And in this case you had


                                                                                    7 (Pages 22 to 25)
                                       Brooks Court Reporting
                                           1-800-245-3376
Case 5:24-cv-00072-DCB-ASH                Document 42-1             Filed 05/15/25           Page 9 of 13

                                     Sandra Sanders 4/18/2025

                                                Page 26                                                      Page 28
      1   come and they were saying that you were having        1           Q. Did you let Nurse Bounds know that hey
      2   acute intractable headache. Do you recall having      2      --
      3   anything like migraines or anything?                  3          A. Yes, sir. I let him know because he --
      4       A. Uh-huh. (Affirmative response.) I have         4      I don't know what the name of the medicine was,
      5   migraines. Yeah.                                      5      because I told him that it still was at the point
      6       Q. And they had given you medication for          6      where I wasn't being able to sleep. But I done
      7   that?                                                 7      forgot the name of the medicine. He added to it,
      8       A. Yep, and they didn't -- they upped the         8      but I didn't -- I took it but I didn't take it
      9   dosage on that.                                       9      long. I just -- I don't know what happened. I
     10       Q. Right.                                        10      took it -- it didn't seem like it was working and
     11       A. Stress.                                       11      that was the only thing that he was going to give
     12       Q. Exactly. So you were having stress as         12      me because I already had other medication.
     13   well at that period of time?                         13          Q. Right.
     14       A. Uh-huh. (Affirmative response.)               14          A. And then sometime I don't be wanting to
     15       Q. Yes, ma'am.                                   15      take all of that medicine because at the same
     16       A. Yes, sir.                                     16      time, I don't want to get addicted to it.
     17       Q. Everybody's telling you to say yes.           17          Q. Right. I understand. Absolutely.
     18          THE WITNESS: I'm like you, Mr. Rhodes;        18              And so it looked like for this visit in
     19   I'm getting sleepy.                                  19      February you were there for COVID-19, which was
     20       Q (By Mr. Carpenter) And this one is the         20      still an issue?
     21   last one -- medical record while you were working    21          A. Uh-huh. (Affirmative response.)
     22   at The Facility. And this one is essentially on      22          Q. And for someone like you, with heart
     23   12/11 of '23. And it's indicating that you were      23      issues, COVID's a lot more than just an average
     24   having issues with edema, or swelling of a leg?      24      flu anymore?
     25       A. Oh, yeah. That would be the fluid.            25          A. Yeah, underlying health.


                                                Page 27                                                      Page 29
      1       Q. Okay. Is that related to your                  1          Q. Absolutely.
      2   hypertension and heart issues?                        2              And then this one is a whole year later.
      3       A. Yes, sir.                                      3      And it might be the last one. I'll check. One
      4       Q. And at that time they also indicated           4      more.
      5   that you were being treated with medication for       5              So in this case, it looks like that you
      6   depression, unspecified. Do you recall?               6      were taking Alprazolam for anxiety in February of
      7       A. Where are we looking?                          7      '25. Because I'll show you these medical. And I
      8       Q. Right here?                                    8      was going to ask you -- this would have been a
      9       A. Yes, sir.                                      9      year and two months after working for The
     10       Q. And what was causing depression in            10      Facility.
     11   December of '23, before you were let go?             11              Were you having additional anxiety at
     12       A. The same thing.                               12      the time or was this the doctor saying I'm
     13       Q. Okay. And that's your heart condition,        13      noticing this and you should take Alprazolam?
     14   essentially?                                         14          A. They noticed in the -- what I was going
     15       A. Well, you've got to get use to this pace      15      through, and I'm still adjusting like anybody else
     16   -- you know, when you're taking a bath and you're    16      with the adjustments with the job and stuff. Like
     17   rubbing on something.                                17      I say, I'm still not -- the money I was making at
     18       Q. Oh, yeah, absolutely. My dad had one so       18      the prison compared to what I was making at the
     19   I know what you're saying.                           19      school is still not -- but it's better than
     20          This note is from February of '24. So         20      nothing. So I still have to worry -- I got bills.
     21   this would be a couple of months after you had       21      It's just me. It's nobody but me. So my income
     22   left The Facility. At that time, were you -- you     22      is my income. I don't have -- and I don't like to
     23   had been previously diagnosed with depression, but   23      ask anybody for anything else.
     24   was it getting worse?                                24          Q. Sure.
     25       A. Yes, sir.                                     25          A. So it gets hectic.


                                                                                     8 (Pages 26 to 29)
                                        Brooks Court Reporting
                                            1-800-245-3376
Case 5:24-cv-00072-DCB-ASH               Document 42-1              Filed 05/15/25         Page 10 of 13

                                     Sandra Sanders 4/18/2025

                                                Page 30                                                      Page 32
      1       Q. I understand.                                  1         Q. Yes, ma'am. It's right there. Yeah, we
      2       A. And then I still be really bothered with       2      knew Tramadol.
      3   the -- just the other day I say I'm going to have     3         A. You know what, I just be taking the
      4   to ask can I go back and ask him -- because the       4      medicine. It's sad, but I just take the medicine.
      5   medication that they had me taking for my             5      They prescribe it. If I don't keep a list, I
      6   migraines, they wanted me to up the dosage. But       6      don't be knowing. I just be trying to feel
      7   that's like 400 milligrams, but it's still not --     7      better.
      8   I don't know if it's something triggering it. I       8         Q. And in terms of the anxiety and
      9   mean, I know it's the stress or whatever but the      9      depression from being let go back in December of
     10   medication that they had me to up the dose on,       10      '23, has it improved from then until now?
     11   they need to change it to something else.            11         A. Yeah, because I can't -- kind of sort
     12       Q. I'm following you.                            12      of. But it's better. It's a whole lot better
     13       A. Because if I didn't have the headaches,       13      because -- it's a whole lot, lot better. Because
     14   I don't know -- I'd be all right.                    14      when you got the -- your bills piling up and
     15       Q. I understand.                                 15      then -- you know, it gets stressful because of
     16           And this one is essentially -- it looks      16      that. And then on top of that, like I said, it
     17   like the last visit's March 4th of '25. Do you       17      was after the holidays, you know, when everybody
     18   know if you've been do a doctor since then or a      18      just -- and when you didn't know that -- if it was
     19   nurse?                                               19      something that you knew was fixing to happen, then
     20       A. I have but it wasn't for -- it was just       20      you probably could -- you prepare.
     21   to get my Vitamin D and my B-12 shots.               21             But with this job, anyway if I -- I
     22       Q. Gotcha. And this one just looks like --       22      couldn't just make it off of the prion, just like
     23   you were saying that this was a routine check-up,    23      I couldn't make it off of the school. So I have
     24   but you were still having pain in your chest         24      to have two incomes. So I just pray and keep
     25   because of the defibrillator implant?                25      moving. That's what I have to do.


                                                Page 31                                                      Page 33
      1      A. Okay. When this was?                            1          Q. I understand. Absolutely. I think
      2      Q. March 4th of '25, it looks like.                2      that's all I've got, and we'll mark this as six.
      3      A. March the 4th. I'm trying to see.               3             MR. CARPENTER: Carroll?
      4   That's probably because I did -- I just had my        4      EXAMINATION BY MR. RHODES:
      5   battery replaced.                                     5          Q. Just a couple.
      6      Q. There you go. Right. And that was               6             Ms. Sanders already established that you
      7   causing --                                            7      were having depression issues prior to getting
      8      A. Yeah.                                           8      that termination letter in December 2023?
      9      Q. That means you've got to go back in.            9          A. Yes, sir.
     10      A. Yeah, because when I went to my doctor,        10          Q. After you received that termination
     11   they didn't give -- when I left the hospital, they   11      letter on December 31st, 2023, did your depression
     12   didn't give me anything for pain. So that's with     12      get better, worse or stay the same?
     13   Dr. Bounds, right?                                   13          A. It got worse.
     14      Q. Yes, ma'am.                                    14          Q. Okay.
     15      A. Yeah, and he told me that -- with my           15          A. It got worse. Because, like I said, it
     16   condition, they should have at least gave me         16      was -- that was just like a ball getting -- a
     17   something. Not to last a whole -- you know. But      17      baseball hitting me in my nose or face or
     18   he gave me a couple of pills to help with the pain   18      something.
     19   from that.                                           19          Q. Could you tell us how it got worse?
     20      Q. Like tramadol?                                 20          A. Because here -- like I said, you got to
     21      A. I can't --                                     21      look at it. This was December the 31st. This is
     22      Q. Yeah, that's a good pain medi --               22      after Christmas holidays. And then you get your
     23      A. I don't be knowing the name of the             23      last pay and you got bills to -- you know what I'm
     24   medicine. I think it might have been that. It's      24      saying? You got bills that you got -- the bills
     25   probably on there. But he gave me the --             25      constantly rolling but you don't have no income


                                                                                    9 (Pages 30 to 33)
                                       Brooks Court Reporting
                                           1-800-245-3376
Case 5:24-cv-00072-DCB-ASH               Document 42-1              Filed 05/15/25         Page 11 of 13

                                     Sandra Sanders 4/18/2025

                                                Page 34                                                      Page 36
      1   coming in. So that's enough to stress you out,        1      increased your medications, right?
      2   because it's only me. I don't have a husband. I       2           A. The migraine.
      3   don't have a boyfriend. I don't have anybody to       3           Q. For migraine?
      4   help me. So that's stressing me because how I'm       4           A. Uh-huh. (Affirmative response.)
      5   going to pay my water bill, how I'm going to pay,     5           Q. Is that a --
      6   you know, my light, gas, all of this here. How am     6           A. Yes, sir.
      7   I going to pay these bills when I no longer have      7           Q. Did they increase any of the medicine
      8   income?                                               8      you were taking for depression?
      9       Q. I know you say it stressed you out. I          9           A. I can't remember. Like I say, I just
     10   want to ask: How did it stress you -- how --         10      tell them stuff and I let them write the
     11       A. Oh, with the not sleeping and not eating      11      prescription and go on. But I do know the reason
     12   and stuff like that. I mean, I don't eat that        12      why -- and I don't even know if he changed it on
     13   much now but I could go two days or whatever         13      the prescription, but I do know that I supposed to
     14   without eating and, you know, realizing that I       14      have been taking -- it was called Topamax. And
     15   hadn't ate. But I would, you know, drink             15      the Topamax is for my migraine. And I was taking
     16   something or whatever. It was just terrible. And     16      it like one a day -- one in the daytime and one at
     17   I know that I needed to eat. I knew I needed to      17      night. And he switched it to four -- he told me
     18   sleep. But even the medicine seemed, at one time,    18      to take four at night. Instead of taking one in
     19   didn't work. And I know that I couldn't keep         19      the day, one at night, he told me to take four
     20   going to the doctor because I really couldn't        20      every night.
     21   afford it.                                           21           Q. Now, before December 31st, before you
     22       Q. Now, before you got the termination           22      received your termination letter, how often did
     23   letter in December, were you taking medication?      23      you have those migraine headaches?
     24       A. Yes, sir.                                     24           A. I really didn't have them that often. I
     25       Q. And about how many hours a night were         25      didn't even have them that often, unless it was


                                                Page 35                                                      Page 37
      1   you able to sleep while you were working the two      1      stress.
      2   jobs and you're taking the medication prior to        2           Q. Were you on medicines for migraine prior
      3   getting the termination letter?                       3      to getting that termination letter?
      4       A. When I was working I could get a good          4           A. Yeah, because the way that the
      5   six, seven. But after that happened, it seemed        5      medicine -- they tell you to take it every day so
      6   like I wasn't even taking no medicine and I'd be      6      that -- because when you get migraines, it's
      7   back up in about three hours. Two, three hours.       7      really excruciating pain. So the way I was taking
      8       Q. So you went to sleeping six to seven           8      it, I was taking it every day anyway to prevent --
      9   hours to after you got your termination letter you    9      you know what I'm saying, prevent from having
     10   were only able to sleep about three?                 10      them.
     11       A. Because I was tossing and turning.            11           Q. Did the frequency of your migraines
     12       Q. Okay. And how long -- after                   12      increase, decrease or stay the same after you got
     13   December 31st, 2023, how long did that last where    13      that termination letter?
     14   you were only able to sleep about --                 14           A. It increased. That's when he doubled
     15       A. Three, four months.                           15      the doses. Increased to four. That's when I had
     16       Q. That lasted about three or four months?       16      to take four.
     17       A. Yeah. When I found out that it was            17           Q. And then about how often would you have
     18   going -- my -- about three, four, maybe five         18      those migraine headaches after you got your
     19   months. After I discovered that when my age -- I     19      termination letter?
     20   was going to be able to get another income. Like     20           A. Pretty much weekly. Pretty much three
     21   the Social Security I told you that somebody was     21      to four -- pretty much mostly every day for a
     22   talking to me about, then it got kind of like -- I   22      while. That's why I had went to him, because it
     23   felt a relief that maybe, you know, I'm fixing to    23      was like an every day thing. And he was saying
     24   get another income, so this will help me.            24      that it was the migraine. But he increased them
     25       Q. And you testified that the doctor             25      and it was like -- I would get at least two or


                                                                                  10 (Pages 34 to 37)
                                       Brooks Court Reporting
                                           1-800-245-3376
Case 5:24-cv-00072-DCB-ASH               Document 42-1              Filed 05/15/25        Page 12 of 13

                                     Sandra Sanders 4/18/2025

                                                Page 38                                                     Page 40
      1   three a week.                                         1         A. It's gotten better.
      2       Q. And how long were those -- each episode        2         Q. And about when did it start to get
      3   of a migraine last -- after you got that              3      better?
      4   termination letter, how long would it happen?         4         A. Probably last -- you know, last year,
      5       A. It lasted about -- it lasted some              5      probably.
      6   months.                                               6         Q. Okay. That's all I have.
      7       Q. No, I mean at a time when you got a            7      EXAMINATION BY MR. CARPENTER:
      8   migraine.                                             8         Q. You were talking to Mr. Rhodes about
      9       A. Oh, the migraines would last like weeks        9      your appetite changing. Did it affect your weight
     10   at a time even with taking -- after me going to      10      dramatically?
     11   him, it would last for weeks at a time because --    11         A. Not that I know of.
     12   you know, I would say that I was going to -- I       12         Q. Okay. All right. And looking at the
     13   didn't want -- I was going to ask him to give me     13      records on Page 37, on December of 2023 it says
     14   something else but I never -- I be forgetting to     14      we're going to refill topiramate tablet. And I
     15   tell him, you know, because sometimes -- if it       15      think you described that as your migraine
     16   ease up by the time it's time for me to go to the    16      medicine?
     17   doctor, I forget to ask him about changing it        17         A. Uh-huh. (Affirmative response.) And
     18   until it would act up again. But now since           18      they call it Topamax, the name brand.
     19   everything is more smoothly, you know, it's not as   19         Q. And it was orally, twice daily?
     20   bad. I'm not having them like I used to.             20         A. Yes.
     21       Q. I was about to ask had the migraines          21         Q. Okay.
     22   eased up?                                            22         A. But now -- see, that's what I'm saying.
     23       A. Yeah.                                         23      That's what they got it now. But he never did go
     24       Q. And when did they start to ease up?           24      back and change it because I'm taking them four
     25       A. Probably after I found out I was going        25      times.


                                                Page 39                                                     Page 41
      1   to be okay.                                           1         Q. Okay.
      2      Q. Could you give us a month?                      2         A. I'm going to have to tell him about that
      3      A. Maybe four -- four months, at the most          3      when I go back.
      4   five.                                                 4         Q. Yes, ma'am. Now, I was going to see --
      5      Q. Four or five months ago?                        5      because he has on your records for March the 4th
      6      A. Probably.                                       6      of 2025 -- and I'll show you right here -- it's
      7      Q. Okay. And you also mentioned that your          7      topiramate.
      8   appetite changed. How was your appetite before        8         A. What is that?
      9   you received that termination letter?                 9         Q. There's a lot of medicines, of course.
     10      A. I would eat a lot. Well, I don't eat           10         A. Oh, yeah, yeah.
     11   that much, but, you know, my appetite was on the     11         Q. So it's down here, topiramate. Two
     12   regular. After that I could miss days without        12      tablets orally, twice daily.
     13   eating and just drink something and keep going.      13         A. Uh-huh. (Affirmative response.)
     14      Q. How many meals would you eat a day prior       14         Q. Okay. And that's -- and so the medicine
     15   to getting your termination letter?                  15      that you were taking for topiramate in March of
     16      A. Well, I don't know. I never did -- you         16      '25 is the same dosage and the same frequency as
     17   know, like talking about like three meals a day      17      that of December 2023, at least according to the
     18   and stuff like that?                                 18      records?
     19      Q. Did you eat twice a day, three times a         19         A. Uh-huh. (Affirmative response.)
     20   day?                                                 20         Q. You have to yes or no?
     21      A. Prior to that, when I used to work             21         A. Yes.
     22   there, I used to eat all the day. And after that,    22         Q. Okay. That's all I've got.
     23   maybe once or not at all.                            23      BY MR. RHODES:
     24      Q. Okay. And has your appetite gotten any         24         Q. Let me just ask you about that medicine
     25   better or worse?                                     25      that's according to the record. Are you taking --


                                                                                 11 (Pages 38 to 41)
                                       Brooks Court Reporting
                                           1-800-245-3376
Case 5:24-cv-00072-DCB-ASH               Document 42-1              Filed 05/15/25                  Page 13 of 13

                                     Sandra Sanders 4/18/2025

                                                Page 42                                                               Page 44
      1   how many --                                          1               CERTIFICATE OF DEPONENT
                                                               2     DEPONENT: SANDRA SANDERS
      2      A. I'm taking four.                                     DATE: April 18, 2025
                                                               3     CASE STYLE: SMITH, ET AL vs. JEFFERSON COUNTY,
      3      Q. Okay. When did you start taking the                  MISSISIPPI, ET AL
      4   four tablets a day?                                  4     ORIGINAL TO: THOMAS L. CARPENTER, ESQ.
                                                                            I, the above-named deponent in the
      5      A. I've got to go back to him because -- he       5     deposition taken in the herein styled and numbered
                                                                     cause, certify that I have examined the deposition
      6   should have it in there, because he the one told     6     taken on the date above as to the correctness
      7   me that -- because I was telling him to the change         thereof, and that after reading said pages, I find
                                                               7     them to contain a full and true transcript of the
      8   the medicine because it wasn't helping me. And he          testimony as given by me.
                                                               8            Subject to those corrections listed below,
      9   the one told me -- so evidently he put it in his           if any, I find the transcript to be the correct
     10   records. Like I say, I still take four at night.     9     testimony I gave at the aforestated time and place.
                                                                     Page Line                   Comments
     11      Q. Where do you get your medicines filled?        10    ____ ____ _______________________________
                                                                     ____ ____ _______________________________
     12      A. Wal-Mart.                                      11    ____ ____ _______________________________
     13      Q. And --                                               ____ ____ _______________________________
                                                               12    ____ ____ _______________________________
     14      A. So I'm going to ask him.                             ____ ____ _______________________________
                                                               13    ____ ____ _______________________________
     15      Q. Did you have a prescription to take into             ____ ____ _______________________________
     16   Wal-Mart --                                          14    ____ ____ _______________________________
                                                                     ____ ____ _______________________________
     17      A. No, he call everything in. So I don't          15    ____ ____ _______________________________
                                                                     ____ ____ _______________________________
     18   pay any attention to -- like I say. But when I go    16    ____ ____ _______________________________
     19   back, I'm going to ask him, though.                  17
                                                               18         This the ____ day of _________, 2025.
     20      Q. On your bottle --                              19                       ____________________
                                                                                        SANDRA SANDERS
     21      A. Oh, I don't watch that.                        20    State of Mississippi
     22      Q. -- does it say --                                    County of ______________
                                                               21
     23      A. I'm going to have to see. I don't know.                Subscribed and sworn to before me, this the
                                                               22    _____ day of _____________, 2025.
     24   Let me see if I have a copy. Because normally I      23    My Commission Expires:
     25   have a copy of my medication. And then he might      24    _____________________ _______________________
                                                               25                     Notary Public


                                                Page 43                                                               Page 45
      1   not even -- I don't know. But I know I was taking     1              CERTIFICATE OF COURT REPORTER
      2   four. Then it might be old. See, this one here        2              I, Robin G. Burwell, Court Reporter and
      3   old because this one got take one by mouth two --     3      Notary Public, in and for the State of Mississippi,
      4   take one by oral two times every day. That's what     4      hereby certify that the foregoing contains a true
                                                                5      and correct transcript of the testimony of SANDRA
      5   it's got on it.
                                                                6      SANDERS, as taken by me in the aforementioned matter
      6          MR. CARPENTER: Okay. So this is from
                                                                7      at the time and place heretofore stated, as taken by
      7   March of '24. So this would have been a year ago.
                                                                8      stenotype and later reduced to typewritten form
      8   And it shows -- yeah, topiramate one tablet two       9      under my supervision by means of computer-aided
      9   times every day.                                     10      transcription.
     10          THE WITNESS: Uh-huh. (Affirmative             11              I further certify that under the authority
     11   response.) But I'm taking four.                      12      vested in me by the State of Mississippi that the
     12          MR. CARPENTER: Gotcha. All right.             13      witness was placed under oath by me to truthfully
     13   Fair enough. Yes, ma'am.                             14      answer all questions in the matter.
     14          THE WITNESS: But I've got to sure ask         15              I further certify that, to the best of my
     15   him, though. But I don't take my medicine -- I'm     16      knowledge, I am not in the employ of or related to
     16   supposed to take them every day, but when you got    17      any party in this matter and have no interest,
     17   to pay for it it's kind of like hard.                18      monetary or otherwise, in the final outcome of this
                                                               19      matter.
     18          MR. CARPENTER: Right. I understand.
                                                               20              Witness my signature and seal this the
     19   We sure appreciate it.
                                                               21      30th day of April, 2025.
     20             (Time Noted: 1:58 p.m.)                    22
     21              SIGNATURE/NOT WAIVED                      23                    _______________________
     22                                                                              ROBIN G. BURWELL, #1651
     23   ORIGINAL: MR. CARPENTER, ESQ.                        24                    CRR, RPR, CCR
     24   COPY: MR. RHODES, ESQ.                                       My Commission Expires:
     25                                                        25      April 6, 2029



                                                                                        12 (Pages 42 to 45)
                                       Brooks Court Reporting
                                           1-800-245-3376
